                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 IN RE:                                        )
                                               )
 JOHN STODDART and                             )               Case No.: 19-80272-TOM-11
 HELEN POWELL-STODDART                         )
                                               )
                Debtor.                        )               CHAPTER 11
                                               )

                     ORDER ON MOTION FOR AUTHORITY TO SELL

         This matter came before the Court for hearing upon the Debtors’ Motion for Authority to
 Sell Assets Free and Clear of Liens and Notice of Sale and Deadline for Submitting Objections
 filed on May 16, 2019 [Doc. 63] (the “Motion”). After proper notice, a hearing was held on June
 12, 2019, whereupon Tazewell T. Shepard appeared on behalf of the Debtors and Jon A. Dudeck
 appeared on behalf of the Bankruptcy Administrator.

        The Debtors sought authority in the Motion to sell their primary residence located at 3127
 Haddonstone Drive SE, Owens Cross Roads, AL 35763 (the “Property”) to Cliff White, or
 Assigns (the “Buyer”) free and clear of all liens and encumbrances for a total purchase price of
 $950,000.00. The Motion’s Certificate of Service indicates that the Debtors served a copy of the
 Motion on the Clerk’s Bankruptcy Matrix, the Office of the Bankruptcy Administrator, the
 Buyer, and the Buyers’ real estate agent. Per their filed proofs of claim, mortgage holders
 IberiaBank’s and Compass Bank’s addresses for service of notice are included on the Clerk’s
 Bankruptcy Matrix.

          Upon due consideration by the Court, and with no objections having been filed, it is
 hereby

        ORDERED, ADJUDGED and DECREED that the Debtors’ Motion for Authority to
 Sell Assets Free and Clear of Liens and Notice of Sale and Deadline for Submitting Objections is
 hereby GRANTED;

         Pursuant to 11 U.S.C. § 363(f), the Property shall be sold and transferred to the Buyer
 free and clear and clear of all liens, security interests, or other encumbrances of any kind with all
 such liens, security interests, or other encumbrances attaching to the proceeds of sale to the same
 extent and in the same order of propriety as each such interest now attaches to or otherwise
 affects the Property;

        The Buyer’s real estate closing attorney is hereby authorized to use the cash proceeds
 from the sale of the Property to pay any required Seller paid items as per the cash sales
 contract, any applicable liens, security interests, or other encumbrances on the Property in their
 order of priority; and




Case 19-80272-TOM11         Doc 84    Filed 06/14/19 Entered 06/14/19 10:55:03              Desc Main
                                     Document     Page 1 of 2
        The Debtors and the Buyer are authorized and directed to take all necessary actions to
 consummate the transaction contemplated by the Motion and execute all documents or
 instruments necessary to implement this Order.

        Dated this the 14th day of June 2019.




                                                   /s/ Tamara O. Mitchell
                                                   Tamara O. Mitchell
                                                   United States Bankruptcy Judge



 Prepared by:                                   Approved by:
 Tazewell T. Shepard IV                         Jon A. Dudeck
 Attorney for Debtor                            Attorney for the Bankruptcy Administrator




Case 19-80272-TOM11       Doc 84    Filed 06/14/19 Entered 06/14/19 10:55:03                Desc Main
                                   Document     Page 2 of 2
